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10 Attorneys for Plaintiff Persian Gulf Inc.
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11
                         UNITED STATES DISTRICT COURT
12                    SOUTHERN       DISTRICT OF CALIFORNIA
13 PERSIAN GULF INC., Individually )          Case No. 3:15-cv-01749-DMS-AGS
   and on Behalf of All Others Similarly )
14 Situated,                              )   CLASS ACTION
                            Plaintiff,    )
15                                        )
           vs.                            )
16 BP WEST COAST PRODUCTS LLC, )
   et al.,                                )
17                                        )
                            Defendants. )
18                                        )
   RICHARD BARTLETT, et al.,              )   Lead Case No. 18-cv-01374-DMS-AGS
19 Individually and on Behalf of All      )   (consolidated with No. 18-cv-01377-
   Others Similarly Situated,             )   DMS-AGS)
20                                        )
                            Plaintiffs,   )   CLASS ACTION
21         vs.                            )
                                          )
22 BP  WEST    COAST   PRODUCTS      LLC, )
   et al.,                                )
23                          Defendants. ))
24
25            SECOND JOINT MOTION AND STIPULATION TO EXTEND
           CERTAIN CASE DEADLINES DUE TO CORONAVIRUS PANDEMIC
26
27
28

     Cases\4821-0562-0409.v1-4/10/20
 1             In light of the current public health crisis relating to the coronavirus pandemic
 2 and associated travel and congregation restrictions, pursuant to Rule 7.2 of the Local
 3 Rules of the U.S. District Court for the Southern District of California, and subject to
 4 Court approval, plaintiffs Persian Gulf Inc., David Rinaldi, Joshua Ebright, and Paul
 5 Lee (collectively, “Plaintiffs”) and defendants BP West Coast Products LLC, Chevron
 6 U.S.A. Inc. (“CUSA”), Tesoro Refining & Marketing Company LLC, Equilon
 7 Enterprises LLC (d/b/a Shell Oil Products US), Exxon Mobil Corporation and
 8 ExxonMobil Refining & Supply Co., Valero Marketing and Supply Company, Phillips
 9 66 and Alon USA Energy, Inc. (collectively, “Defendants”), through their undersigned
10 counsel, stipulate and jointly agree as follows:
11             1.        On March 26, 2020, the Court entered an order granting the parties’ first
12 joint motion to amend the scheduling order in light of the COVID-19 national
13 emergency, and ordering, among other things, that the previously noticed depositions
14 (“Noticed Depositions”) be rescheduled to occur between April 13, 2020 and May 4,
15 2020. Persian Gulf ECF No. 396; Bartlett ECF No 261.1 That order also required the
16 parties to continue to confer in good faith as to whether additional adjustments to the
17 case schedule would be needed. The parties have been closely monitoring travel
18 restrictions and government orders relating to the COVID-19 national emergency, and
19 believe that they will not be able to conduct depositions in this matter until at least
20 June 15, 2020. Accordingly, the parties believe that a further limited extension of fact
21 discovery is necessary to allow the Noticed Depositions to occur between June 15,
22 2020 (the “Restart Date”) and July 10, 20202;
23
24
   1
      The previously “Noticed Depositions” consist of 14 party depositions and 2 third
25 party depositions of Gordon D. Schremp of the California Energy Commission and
   Jamie Court of Consumer Watchdog.
26
   2
      The Restart Date may be altered, by agreement of the parties, based on the current
27 conditions affecting health and safety, including travel restrictions, limitations
   regarding groups and office closures.
28

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     Cases\4821-0562-0409.v1-4/10/20
 1             2.        The parties will work to reschedule each of the Noticed Depositions for a
 2 new date within three weeks of the Restart Date. In order to facilitate this, the parties
 3 agree that Defendants shall make their best efforts to provide, where feasible, more
 4 than one potential date for each deponent, and in no event will there be more than
 5 three depositions scheduled per day. Plaintiffs will make their best efforts to schedule
 6 the depositions so as to complete them within three weeks of the Restart Date3;
 7             3.        With respect to the briefing and hearing schedule on Plaintiffs’ Motion
 8 for Findings of Fact and Conclusions of Law (Persian Gulf ECF No. 376), the parties
 9 agree that CUSA’s opposition to this motion shall be continued to a time agreed upon
10 by the parties following the deposition of CUSA witness Rick Pluimer. Plaintiffs’
11 reply shall be due one week after CUSA’s opposition, with a hearing to follow at the
12 Court’s convenience. The parties are aware that the Court set a specific schedule for
13 this matter, but respectfully request that the Court continue further briefing on this
14 motion to sometime after Mr. Pluimer’s deposition because his testimony is centrally
15 relevant to this motion;
16             4.        The parties will continue to confer in good faith as to whether any
17 additional adjustments beyond those set forth in ¶¶1-2 hereof are needed. If no
18 agreement can be reached, the parties agree to consult the Court on an expedited basis;
19             5.        Plaintiffs’ remaining substantive responses to written discovery,
20 including the requests listed in Attachment A to the parties’ joint motion filed on
21 March 24, 2020 (Persian Gulf ECF No. 395; Bartlett ECF No. 260), shall be due by
22 May 1, 2020. The scope of these responses will be limited to information in the
23 possession of Plaintiffs as of March 17, 2020.                 Plaintiffs’ responses shall be
24
   3
       The parties agree that all Noticed Depositions shall go forward unless the noticing
25 party withdraws the subpoena, regardless of the time limitations imposed. As to the
   two third-party witnesses, while the parties intend for their depositions to go forward,
26 it is possible they may not occur on the same schedule set forth above due, for
   example, to Mr. Court having filed a motion for protective order in the U.S. District
27 Court for the Central District of California on April 6, 2020, as to which no hearing
   date has yet been set.
28

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 1 supplemented by any discovery received after March 17, 2020 by May 1, 2020 or
 2 within 30 days of the receipt of that discovery, whichever is later, and will be made
 3 pursuant to and consistent with the Federal Rules of Civil Procedure and the Court’s
 4 rulings and orders. Defendants shall serve any additional documents or responses to
 5 written discovery by May 1, 2020;
 6             6.        Further supplementation of discovery responses or production of
 7 documents by any party shall be made as required by the Federal Rules of Civil
 8 Procedure 26(e)(1)(A); and
 9             7.        After further meeting and conferring, the parties have also agreed that in
10 order to promote judicial economy and preserve both the Court’s and parties’ valuable
11 resources, the Court should establish a schedule for contemplated pre-certification
12 dispositive motions for summary judgment, consistent with Judge Sabraw’s Civil
13 Pretrial & Trial Procedures (¶4(B)(2)), to address summary judgment motions prior to
14 consideration of class certification. To allow for dispositive summary judgment
15 motions to be completed before class certification, the parties now agree that all expert
16 reports regarding the merits, including the calculation for and amount of damages
17 sought by each named plaintiff and their proposed classes, will be filed pursuant to the
18 three amended dates in the table below, and that all expert reports relating solely to
19 class certification will be submitted after the Court rules on the dispositive summary
20 judgment motions. Accordingly, the parties propose that the current schedule be
21 further modified as follows:
22               Deadline/Event                      Current Date             Amended Date
23       Plaintiffs’ substantive                     April 17, 2020            May 1, 2020
         responses to written
24
         discovery.4
25
26   4
      As provided in the Court’s March 26, 2020, Order (Persian Gulf ; ECF 396;
   Bartlett ECF No. 261), the scope of such responses “will be limited to information in
27 the possession of Plaintiffs as of March 17, 2020,” and “Plaintiffs’ responses shall be
   supplemented by any discovery received after March 17, 2020, within 30 days of the
28 receipt of that discovery as stated by the Court at the March 17, 2020 hearing and will

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 1             Deadline/Event               Current Date            Amended Date
 2     Deadline for Defendants to           April 17, 2020           May 1, 2020
       serve additional documents or
 3
       responses to written discovery
 4     Restart date for completion of       April 13, 2020          June 15, 2020
 5     previously-noticed depositions
       Completion of previously-             May 4, 2020             July 10, 2020
 6
       noticed depositions
 7     Plaintiffs’ Motion for Class     May 18, 2020            TBD
 8     Certification and Designation
       of class certification experts
 9     and Rule 26(a)(2)(A), (B) and
10     (C) disclosures, with
       depositions of the designated
11     experts to occur promptly
12     Plaintiffs’ Designation of       May 18, 2020            July 24, 2020
13     merits experts and Rule
       26(a)(2)(A), (B) and (C)
14     disclosures, with depositions
15     of the designated experts to
       occur promptly
16
       Defendants’ Designation of       July 17, 2020           September 21, 2020
17     merits experts and Rule
       26(a)(2)(A), (B), (C) and
18
       (D)(ii) disclosures, with
19     depositions of the designated
       experts to occur promptly
20
       Plaintiffs’ merits expert        July 2, 2020            October 30, 2020
21     disclosures under Rule
22     26(a)(2)(D)(ii), with
       depositions of Plaintiffs’
23     rebuttal experts to occur
24     promptly5
25
   be made pursuant to and consistent with the Federal Rules of Civil Procedure and the
26 Court’s rulings and orders.”
27 5 Rebuttal expert depositions shall be limited to that which is contained in any
   rebuttal report.
28

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1             Deadline/Event                Current Date        Amended Date
2      Merits Expert Discovery Cut-     August 7, 2020        December 4, 2020
       Off
3
       Submission of Confidential       August 26, 2020       December 9, 2020
4      Settlement Briefs
5      Mandatory Settlement             September 2, 2020     December 16, 2020
       Conference                       at 9:00 a.m.          at 9:00 a.m.
6
       Last Day to File Dispositive     October 2, 2020       December 18, 2020
7      Motions
8      Status Conference Regarding      N/A                   Two weeks after
       Class Certification Motions                            ruling on Summary
9      and Pretrial Schedule                                  Judgment, subject to
10                                                            Court availability
11     Defendants’ Opposition to        N/A                   TBD
       class certification and
12     designation of class
13     certification experts and Rule
       26(a)(2)(A), (B), (C) and
14     (D)(ii) disclosures, with
15     depositions of the designated
       experts to occur promptly
16
       Rule 26(a)(3) Pre-Trial          January 29, 2021      TBD
17     Disclosures
18     Compliance with Local Rule       February 12, 2021     TBD
       16.1(f)(4)
19
       Plaintiffs’ counsel to provide   February 26, 2021     TBD
20     opposing counsel with draft
21     proposed final pretrial order
       for review and approval
22     Final Pretrial Conference        April 9, 2021         TBD
23     Order filed
24     Final Pretrial Conference        April 16, 2021        TBD
                                        at 10:30 a.m.
25
       Trial                            May 21, 2021          TBD
26                                      at 9:00 a.m.
27
28

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     Cases\4821-0562-0409.v1-4/10/20
 1             In consideration of the above, the parties respectfully request the Court enter the
 2 proposed order submitted herewith.
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     Cases\4821-0562-0409.v1-4/10/20
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13                                     SIGNATURE CERTIFICATION
14             Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
15 and Procedures Manual, I hereby certify that the content of this document is
16 acceptable to the above signatories, and that I have obtained each of the foregoing
17 person’s authorization to affix his or her electronic signatures to this document.
18
19
     Dated: DATED: April 10, 2020                           s/ Alexandra S. Bernay
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